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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

              Plaintiff,

      v.
                                              No. 21 Civ.323
                                                          __ (__)
                                                              DLC

TOYOTA MOTOR CORPORATION,
TOYOTA MOTOR NORTH AMERICA, INC.,
TOYOTA MOTOR SALES, U.S.A., INC., and
TOYOTA MOTOR ENGINEERING &
MANUFACTURING NORTH AMERICA, INC.,

              Defendants.




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                                        I.      RECITALS

       1.      WHEREAS, plaintiff United States of America, on behalf of the United States

Environmental Protection Agency (“EPA”), has filed a complaint concurrently with this Consent

Decree alleging that defendants Toyota Motor Corporation, Toyota Motor North America, Inc.,

Toyota Motor Sales U.S.A., Inc., and Toyota Motor Engineering & Manufacturing North

America, Inc. (collectively, “Defendants” or “Toyota”) violated Section 203(a)(2) of the Clean

Air Act (“Act”), 42 U.S.C. § 7522, and regulations promulgated at 40 C.F.R. §§ 85.1903 and

85.1904.

       2.      WHEREAS, Toyota and the United States (together, the “Parties”) recognize, and

the Court by entering this Consent Decree finds, that this Consent Decree has been negotiated by

the Parties in good faith and will avoid litigation between the Parties and that this Consent

Decree is fair, reasonable, and in the public interest.

       3.      NOW, THEREFORE, with the consent of the Parties, IT IS HEREBY

ADJUDGED, ORDERED, AND DECREED as follows:

                             II.     JURISDICTION AND VENUE

       4.      This Court has jurisdiction over the subject matter of this action, pursuant to

Sections 203, 204 and 205 of the Act, 42 U.S.C. §§ 7523, 7524 and 7525, and 28 U.S.C.

§§ 1331, 1345 and 1355.

       5.      For purposes of this Consent Decree and for purposes of enforcing the Consent

Decree, the Parties agree that venue lies in this District pursuant to Sections 205 of the Act, 42

U.S.C. § 7524, and 28 U.S.C. § 1391(b) and (c).
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        6.      For purposes of this Decree, or any action to enforce this Decree, Defendants

consent to the Court’s jurisdiction over this Decree and any such action and over Defendants and

consent to venue in this judicial district.

        7.      For purposes of this Consent Decree, Defendants agree that the Complaint states

claims upon which relief may be granted pursuant to Section 203(a)(2) of the Clean Air Act

(“Act”), 42 U.S.C. § 7522.

                                       III.    ADMISSIONS

        8.      Toyota admits, acknowledges, and accepts responsibility for the following:

                a.      Between approximately 2005 and late 2015, Toyota routinely filed
                        emission defect reports to EPA materially late and, in many cases, failed
                        to file such reports at all until a self-disclosure of non-compliance in late
                        2015.

        Defect Reporting

                b.      Automobile manufacturers such as Toyota are required to file Emissions
                        Defect Information Reports (“EDIRs”) with EPA no later than fifteen
                        working days after specific emission-related defects are found to affect
                        twenty-five vehicles or engines of the same model year. 40 C.F.R.
                        § 85.1903(b).

                c.      “Emission-related defects” are broadly defined to include any “defect in
                        design, materials, or workmanship in [1] a device, system, or assembly
                        described in [the manufacturer’s approved application for certification of
                        the vehicle] that affects any parameter or specification enumerated in
                        appendix VIII of [40 C.F.R. part 85]; or [2] one or more emission-related
                        parts, components, systems, software or elements of design which must
                        function properly to ensure continued compliance with emission
                        standards.” 40 C.F.R. § 85.1902(b).

                d.      EDIRs provide EPA a description of the defect, an evaluation of the
                        emissions impact of the defect, and other information. 40 C.F.R.
                        § 85.1903(c). EDIRs are a source of information EPA may consider in
                        deciding whether to influence a recall of vehicles or require a recall of
                        vehicles pursuant to 42 U.S.C. § 7541(c)(1).

                e.      Automobile manufacturers such as Toyota are also required to submit
                        Voluntary Emissions Recall Reports (“VERRs”) to EPA within fifteen
                        working days of the date of owner notification of a voluntary emissions



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             recall campaign involving twenty-five or more vehicles or engines, and to
             provide quarterly status reports (“Quarterly Reports”) for six quarters
             commencing with the quarter after the recall campaign actually begins. 40
             C.F.R. § 85.1904(a), (b).

      f.     A “voluntary emissions recall” means a “repair, adjustment, or
             modification program voluntarily initiated and conducted by a
             manufacturer to remedy any emission-related defect for which direct
             notification of vehicle or engine owners has been provided.” 40 C.F.R.
             § 85.1902(d).

      g.     These regulations “extend . . . surveillance” of vehicles for emission-
             related defects “to . . . the manufacturers themselves” in light of EPA’s
             intent “to encourage manufacturers to repair voluntarily emission-related
             defects which they determine to exist in vehicles or engines.” 40 Fed.
             Reg. 18176, 18177-18178 (Apr. 25, 1975).

Representations to EPA

      h.     In March and May 2002, at EPA’s request, Toyota and EPA
             representatives met to discuss Toyota’s internal process for identifying
             whether twenty-five instances of a specific emission-related defect exist in
             vehicles or engines of the same model year, requiring an EDIR filing.

      i.     At a first meeting in March 2002, Toyota described its EDIR process in
             which Toyota would investigate whether it had twenty-five defects only
             upon receiving twenty-five “product reports” from its dealers, but would
             supplement that review by filing an EDIR upon receiving warranty claims
             for an emission-related part in 4% of Toyota’s California fleet (a threshold
             requiring a separate filing to state authorities under California law).

      j.     At the meeting, EPA rejected this EDIR process as not timely considering
             warranty claims, despite the incorporation of the 4% California trigger.
             Toyota’s notes of the meeting indicate that EPA program staff advised
             Toyota that if it came back with a revised proposal that the program staff
             were convinced would satisfy the regulations, then EPA’s enforcement
             arm would not need to get involved.

      k.     Toyota then revised its process, noting internally that it “will be stricter
             than” California law.

      l.     At a May 2002 meeting with EPA, Toyota presented its revised process.
             Under that process, Toyota would commence an investigation to
             determine whether an EDIR filing was required when it had received
             warranty claims for an emission-related part for 1% of relevant vehicles
             nationwide; when it received 500 such warranty claims regardless of the
             percentage; or when it received twenty-five similar early warning reports.



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      m.     Toyota noted internally that EPA seemed pleased with this approach,
             which EPA had described as “more stringent than California.”

      n.     In 2003, 2004, and 2005, as part of an annual review, Toyota submitted its
             May 2002 process in writing to EPA as an overview of its EDIR reporting
             program.

Toyota’s Conduct from Approximately 2005 to 2015

      o.     Without notifying EPA, in approximately 2005, Toyota stopped following
             the May 2002 EDIR process.

      p.     In approximately 2005, Toyota began filing EDIRs primarily when filing
             the California reports triggered by the 4% threshold. Toyota also filed
             EDIRs in a small number of instances when it was otherwise filing
             VERRs with EPA.

      q.     From approximately 2005 to 2015, Toyota stopped making any
             independent determination of whether twenty-five defects existed
             requiring an EDIR filing.

      r.     Multiple times during this period, Toyota staff charged with preparing
             EDIRs identified that the plain language of the EDIR regulations called
             for filing an EDIR upon the identification of twenty-five defects, but that
             Toyota was not doing so. These staff did not cause Toyota to change its
             practice.

      s.     As a result of this conduct, Toyota filed at least sixty-nine EDIRs
             materially late. Thirty-nine of these were filed materially late in the
             ordinary course of Toyota’s business. In late 2015, Toyota self-disclosed
             another thirty that had not been filed at all. Some EDIRs were ultimately
             filed as many as eight years after they were due.

      t.     Beyond EDIRs, Toyota also failed during this period to file twenty
             VERRs required for emission-related recall campaigns that it conducted
             and failed to file more than two hundred Quarterly Reports related to such
             campaigns.

      u.     Between 2005 and 2015, Toyota failed to provide its employees with
             adequate training, resources, or oversight to ensure that Toyota complied
             with its reporting obligations to EPA.

      v.     As a result of Toyota’s conduct, EPA did not timely receive mandated
             information regarding emission-related defects and recalls.




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                                    IV.      APPLICABILITY

       9.      The obligations of this Consent Decree apply to and are binding upon the United

States, and (jointly and severally) upon Defendants and any successors, assigns, or other entities

or persons otherwise bound by law.

       10.     Defendants shall provide a copy of this Consent Decree to all officers, employees,

and agents whose duties might reasonably include compliance with any provision of this Consent

Decree, as well as to any contractor retained to perform work required under this Consent

Decree. Defendants shall undertake reasonable best efforts to condition any such contract upon

performance of the work in conformity with the terms of this Consent Decree. Defendants shall

provide a Japanese translation of the Consent Decree along with the copy of this Decree, to any

such officer, employee, agent, or contractor as necessary to facilitate the full implementation of

this Decree.

       11.     In any action to enforce this Consent Decree, Defendants shall not raise as a

defense the failure by any of their officers, directors, employees, agents, or contractors to take

any actions necessary to comply with the provisions of this Consent Decree. In such an

enforcement action, the terms of the English language version of this Consent Decree shall

control, regardless of whether the officer, director, employee, agent, or contractor was provided

an inconsistent Japanese translation.

                                        V.    DEFINITIONS

       12.     Terms used in this Consent Decree that are defined in the Act or in 40 C.F.R. part

85 shall have the meanings assigned to them in the Act or such regulations, unless otherwise

provided in this Decree. Whenever the terms set forth below are used in this Consent Decree,

the following definitions shall apply:




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               a.    “Complaint” shall mean the complaint filed by the United States in this
                     action;

               b.    “Consent Decree” or “Decree” shall mean this Decree, including in all
                     instances Appendix A hereto;

               c.    “Day” shall mean a calendar day unless expressly stated to be a business
                     day. In computing any period of time under this Consent Decree, where the
                     last day would fall on a Saturday, Sunday, or federal holiday, the period
                     shall run until the close of business of the next business day;

               d.    “Defendants(s)” shall mean Toyota Motor Corporation, Toyota Motor
                     North America, Inc., Toyota Motor Sales U.S.A., Inc., and Toyota Motor
                     Engineering & Manufacturing North America, Inc.;

               e.    “EPA” shall mean the United States Environmental Protection Agency and
                     any of its successor departments or agencies;

               f.    “Effective Date” shall have the definition provided in Section XVI
                     (Effective Date).

               g.    “Paragraph” shall mean a portion of this Decree identified by an Arabic
                     numeral;

               h.    “Parties” shall mean the United States and Defendants;

               i.    “Section” shall mean a portion of this Decree identified by a Roman
                     numeral; and

               j.    “United States” shall mean the United States of America, acting on behalf
                     of EPA.

                                   VI.     CIVIL PENALTY

       13.     Within 30 Days after the Effective Date, Defendants shall pay the sum of

$180,000,000 as a civil penalty, together with interest accruing from the date on which the

Consent Decree is lodged with the Court, at the rate specified in 28 U.S.C. § 1961 as of the date

of lodging.

       14.     Defendants shall pay the civil penalty due by FedWire Electronic Funds Transfer

(“EFT”) to the U.S. Department of Justice account, in accordance with instructions provided to

Defendants by the U.S. Attorney’s Office for the Southern District of New York. The payment




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instructions will include a Consolidated Debt Collection System (“CDCS”) number, which

Defendants shall use to identify all payments required to be made in accordance with this

Consent Decree.

       15.     At the time of payment, Defendants shall send notice that payment has been

made: (i) to EPA via email at cinwd_acctsreceivable@epa.gov or via regular mail at EPA

Cincinnati Finance Office, 26 W. Martin Luther King Drive, Cincinnati, Ohio 45268, and to the

United States via email and regular mail in accordance with Section XV (Notices). Such notice

shall state that the payment is for the civil penalty owed pursuant to the Consent Decree in

United States v. Toyota Motor Corporation, et al., and shall refer to the civil action number,

CDCS Number, and DOJ case number 90-5-2-1-11477.

       16.     Defendants shall not deduct any penalties paid under this Decree pursuant to this

Section or Section IX (Stipulated Penalties) in calculating its federal or state income tax.

       17.     For purposes of the identification requirement of Section 162(f)(2)(A)(ii) of the

Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), performance of obligations incurred under

Paragraphs 10, 18, 19, 20, 21, 53, 54, and 55 and Appendix A is restitution or required to come

into compliance with the law.

                                  VII.   INJUNCTIVE RELIEF

       18.     Defendants shall comply with 40 C.F.R. § 85.1903 (Emissions Defect Information

Reports).

       19.     Defendants shall comply with 40 C.F.R. § 85.1904 (Voluntary Emissions Recall

Reports and Quarterly Reports).

       20.     Defendants shall comply with Appendix A (Specific Defect Reporting and

Investigation Protocols).




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                           VIII. REPORTING REQUIREMENTS

       21.     Defendants shall submit the following reports:

               a.     Semi-Annual EDIR Investigations Report. Defendants shall submit the
                      Semi-Annual EDIR Investigations Report, described in Appendix A,
                      Paragraph 7.

               b.     Annual Recall Report. Defendants shall submit the Annual Recall Report,
                      described in Appendix A, Paragraph 9.

               c.     Semi-Annual Compliance Report. No later than January 30 and July 30 of
                      each year (but in no event earlier than six months after entry), until
                      termination of this Decree pursuant to Section XIX (Termination),
                      Defendants shall submit by email and U.S. Mail pursuant to Section XV
                      (Notices) a semi-annual report for the preceding two calendar quarters that
                      shall include the status of Defendants’ compliance with this Consent
                      Decree (including Appendix A). The report shall also include a summary
                      description of any non-compliance with the requirements of this Consent
                      Decree (including Appendix A) and an explanation of the violation’s
                      likely cause and of the remedial steps taken, or to be taken, to prevent or
                      minimize such violation.

               d.     Report of Violations. If Defendants violate, or have reason to believe that
                      they may violate, any requirement of this Consent Decree, Defendants
                      shall notify the United States of such violation and its likely duration, in
                      writing, within fourteen Days of the Day Defendants first becomes aware
                      of the violation, with an explanation of the violation’s likely cause and of
                      the remedial steps taken, or to be taken, to prevent or minimize such
                      violation. If the cause of a violation cannot be fully explained at the time
                      the report is due, Defendants shall so state in the report. Defendants shall
                      investigate the cause of the violation and shall then submit an amendment
                      to the report, including a full explanation of the cause of the violation,
                      within 30 Days of the Day Defendants become aware of the cause of the
                      violation. Nothing in this Paragraph or the following Paragraph relieves
                      Defendants of their obligations to provide the notice required by Section X
                      (Force Majeure).

       22.     Whenever any violation of this Consent Decree or any other event affecting

Defendants’ performance under this Decree may pose an immediate threat to the public health or

welfare or the environment, Defendants shall notify EPA orally or by electronic or facsimile

transmission as soon as possible, but no later than 24 hours after Defendants first knew of the




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violation or event. This procedure is in addition to the requirements set forth in the preceding

Paragraph.

       23.      All reports under the Consent Decree shall be submitted to the United States by

email and U.S. Mail as designated in Section XV (Notices), except that Emission Defect

Information Reports, Voluntary Emissions Recall Reports, and Quarterly Reports required under

40 C.F.R. §§ 85.1903 and 85.1904 shall be submitted only by the methods established by EPA

for the submission of such filings generally.

       24.     Each report submitted by Defendants under Paragraphs 22 and 23 of this Section

shall be signed by an official of the submitting party and include the following certification:

       I certify under penalty of law that this document and all attachments were
       prepared under my direction or supervision in accordance with a system designed
       to assure that qualified personnel properly gather and evaluate the information
       submitted. Based on my inquiry of the person or persons who manage the system,
       or those persons directly responsible for gathering the information, the
       information submitted is, to the best of my knowledge and belief, true, accurate,
       and complete. I have no personal knowledge that the information submitted is
       other than true, accurate, and complete. I am aware that there are significant
       penalties for submitting false information, including the possibility of fine and
       imprisonment for knowing violations.

       25.     This certification requirement does not apply to emergency or similar

notifications where compliance would be impractical.

       26.     The reporting requirements of this Consent Decree (including Appendix A) do not

relieve Defendants of any reporting obligations required by the Act or implementing regulations,

or by any other federal, state, or local law, regulation, permit, or other requirement.

       27.     Any information provided pursuant to this Consent Decree may be used by the

United States in any proceeding to enforce the provisions of this Consent Decree and as

otherwise permitted by law.




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                                  IX.     STIPULATED PENALTIES

       28.     Defendants shall be jointly and severally liable for stipulated penalties to the

United States for violations of this Consent Decree as specified below, unless excused under

Section X (Force Majeure). The joint and several liability may be satisfied by payment of any

Defendant. A violation includes failing to perform any obligation required by the terms of this

Decree, including any work plan or schedule approved under this Decree, according to all

applicable requirements of this Decree and within the specified time schedules established by or

approved under this Decree.

       29.     Late Payment of Civil Penalty. If Defendants fail to pay the civil penalty required

to be paid under Section VI (Civil Penalty) when due, Defendants shall pay a stipulated penalty

of $50,000 per Day for each Day that the payment is late.

       30.     Injunctive Relief.

               a.          The following stipulated penalties shall accrue per violation per Day for
                           each violation of the requirements identified in subparagraph 30.b:

       Penalty Per Violation Per Day                                  Period of Noncompliance
                  $5,000 .................................................1st through 20th Day
                 $10,000 ..............................................21sth through 40th Day
                 $20,000 ................................................41st Day and beyond

               b.          The applicable compliance requirements for the purpose of this paragraph
                           are the following:

                     (1)          Paragraph 18

                     (2)          Paragraph 19

                     (3)          Appendix A, paragraphs 3, 4, 5, 6, 8, and 10, including the
                                  subparagraphs under each.




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       31.     Reporting Requirements. The following stipulated penalties shall accrue per

violation per Day for each violation of the reporting requirements of Section VIII (Reporting

Requirements) and Appendix A, paragraphs 7 and 9, including subparagraphs under each:

       Penalty Per Violation Per Day                                  Period of Noncompliance
                  $2,000 .................................................1st through 20th Day
                  $5,000 ............................................... 21th through 40th Day
                 $10,000 ................................................41st Day and beyond

       32.     Stipulated penalties under this Section shall begin to accrue on the Day after

performance is due or on the Day a violation occurs, whichever is applicable, and shall continue

to accrue until performance is satisfactorily completed or until the violation ceases; provide that

no stipulated penalties will accrue prior to the Effective Date. Stipulated penalties shall accrue

simultaneously for separate violations of this Consent Decree.

       33.     Defendants shall pay any stipulated penalty within 30 Days of receiving the

United States’ written demand. The written demand for payment of stipulated penalties shall

identify the violation.

       34.      The United States may in the unreviewable exercise of its discretion, reduce or

waive stipulated penalties otherwise due it under this Consent Decree.

       35.     Stipulated penalties shall continue to accrue as provided in Paragraph 32, during

any Dispute Resolution, but need not be paid until the following:

               a.         If the dispute is resolved by agreement of the Parties or by a decision of
                          EPA that is not appealed to the Court, Defendants shall pay accrued
                          penalties determined to be owing, together with interest, to the United
                          States within 30 Days of the effective date of the agreement or the receipt
                          of EPA’s decision or order.

               b.         If the dispute is appealed to the Court and the United States prevails in
                          whole or in part, Defendants shall pay all accrued penalties determined by
                          the Court to be owing, together with interest, within 60 Days of receiving
                          the Court’s decision or order, except as provided in subparagraph c,
                          below.



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                c.      If any Party appeals the District Court’s decision, Defendants shall pay all
                        accrued penalties determined to be owing, together with interest, within 15
                        Days of receiving the final appellate court decision.

        36.     Defendants shall pay stipulated penalties owing to the United States in the manner

set forth in Paragraph 14 and with the confirmation notices required by Paragraph 15, except that

the transmittal letter shall state that the payment is for stipulated penalties and shall state for

which violation(s) the penalties are being paid.

        37.     If Defendants fail to pay stipulated penalties according to the terms of this

Consent Decree, Defendants shall be liable for interest on such penalties, as provided for in

28 U.S.C. § 1961, accruing as of the date payment became due. Nothing in this Paragraph shall

be construed to limit the United States from seeking any remedy otherwise provided by law for

Defendants’ failure to pay any stipulated penalties.

        38.     The payment of penalties and interest, if any, shall not alter in any way

Defendants’ obligation to complete the performance of the requirements of this Consent Decree.

        39.     Non-Exclusivity of Remedy. Stipulated penalties are not the United States’

exclusive remedy for violations of this Consent Decree. Subject to the provisions of Section XIII

(Effect of Settlement/Reservation of Rights), the United States expressly reserves the right to

seek any other relief it deems appropriate for Defendants’ violation of this Decree or applicable

law, including but not limited to an action against Defendants for statutory penalties, additional

injunctive relief, mitigation or offset measures, and/or contempt. However, the amount of any

statutory penalty assessed for a violation of this Consent Decree shall be reduced by an amount

equal to the amount of any stipulated penalty assessed and paid pursuant to this Consent Decree.

                                    X.      FORCE MAJEURE

        40.     “Force majeure,” for purposes of this Consent Decree, is defined as any event

arising from causes beyond the control of Defendants, of any entity controlled by Defendants, or


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of Defendants’ contractors, that delays or prevents the performance of any obligation under this

Consent Decree despite Defendants’ best efforts to fulfill the obligation. The requirement that

Defendants exercise “best efforts to fulfill the obligation” includes using best efforts to anticipate

any potential force majeure event and best efforts to address the effects of any potential force

majeure event (a) as it is occurring and (b) following the potential force majeure event, such that

the delay and any adverse effects of the delay are minimized. “Force Majeure” does not include

Defendants’ financial inability to perform any obligation under this Consent Decree.

       41.     If any event occurs or has occurred that may delay the performance of any

obligation under this Consent Decree, whether or not caused by a force majeure event,

Defendants shall provide notice orally or by e-mail to the United States as set forth in Section

XV (Notices), within seven Days of when Defendants first knew that the event might cause a

delay. Within fourteen Days thereafter, Defendants shall provide in writing to the United States

an explanation and description of the reasons for the delay; the anticipated duration of the delay;

all actions taken or to be taken to prevent or minimize the delay; a schedule for implementation

of any measures to be taken to prevent or mitigate the delay or the effect of the delay;

Defendants’ rationale for attributing such delay to a force majeure event if they intend to assert

such a claim; and a statement as to whether, in the opinion of Defendants, such event may cause

or contribute to an endangerment to public health, welfare or the environment. Defendants shall

include with any notice all available documentation supporting the claim that the delay was

attributable to a force majeure. Failure to comply with the above requirements shall preclude

Defendants from asserting any claim of force majeure for that event for the period of time of

such failure to comply, and for any additional delay caused by such failure. Defendants shall be




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deemed to know of any circumstance of which Defendants, any entity controlled by Defendants,

or Defendants’ contractors knew or should have known.

         42.   If the United States agrees that the delay or anticipated delay is attributable to a

force majeure event, the time for performance of the obligations under this Consent Decree that

are affected by the force majeure event will be extended by the United States for such time as is

necessary to complete those obligations. An extension of the time for performance of the

obligations affected by the force majeure event shall not, of itself, extend the time for

performance of any other obligation. The United States will notify Defendants in writing of the

length of the extension, if any, for performance of the obligations affected by the force majeure

event.

         43.   If the United States does not agree that the delay or anticipated delay has been or

will be caused by a force majeure event, the United States will notify Defendants in writing of its

decision.

         44.   If Defendants elect to invoke the dispute resolution procedures set forth in

Section XI (Dispute Resolution), they shall do so no later than 30 Days after receipt of EPA's

notice. In any such proceeding, Defendants shall have the burden of demonstrating by a

preponderance of the evidence that the delay or anticipated delay has been or will be caused by a

force majeure event, that the duration of the delay or the extension sought was or will be

warranted under the circumstances, that best efforts were exercised to avoid and mitigate the

effects of the delay, and that Defendants complied with the requirements of Paragraphs 40 and

41. If Defendants carry this burden, the delay at issue shall be deemed not to be a violation by

Defendants of the affected obligation of this Consent Decree identified to the United States and

the Court.




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                               XI.     DISPUTE RESOLUTION

       45.     Unless otherwise expressly provided for in this Consent Decree, the dispute

resolution procedures of this Section shall be the exclusive mechanism to resolve disputes arising

under or with respect to this Consent Decree. Defendants’ failure to seek resolution of a dispute

under this Section shall preclude Defendants from raising any such issue as a defense to an

action by the United States to enforce any obligation of Defendants arising under this Decree.

       46.     Informal Dispute Resolution. Any dispute subject to Dispute Resolution under

this Consent Decree shall first be the subject of informal negotiations. The dispute shall be

considered to have arisen when Defendants send the United States a written Notice of Dispute.

Such Notice of Dispute shall state clearly the matter in dispute. The period of informal

negotiations shall not exceed 30 Days from the date the dispute arises, unless that period is

modified by written agreement. If the Parties cannot resolve a dispute by informal negotiations,

then the position advanced by the United States shall be considered binding unless, within 30

Days after the conclusion of the informal negotiation period, Defendants invoke formal dispute

resolution procedures as set forth below.

       47.     Formal Dispute Resolution. Defendants shall invoke formal dispute resolution

procedures, within the time period provided in the preceding Paragraph, by serving on the United

States in accordance with Section XV (Notices) a written Statement of Position regarding the

matter in dispute. The Statement of Position shall include, but need not be limited to, any factual

data, analysis, or opinion supporting Defendants’ position and any supporting documentation

relied upon by Defendants.

       48.     The United States shall serve its Statement of Position within 45 Days of receipt

of Defendants’ Statement of Position. The United States’ Statement of Position shall include,




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but need not be limited to, any factual data, analysis, or opinion supporting that position and any

supporting documentation relied upon by the United States. The United States’ Statement of

Position shall be binding on Defendants, unless Defendants file a motion for judicial review of

the dispute in accordance with the following Paragraph.

       49.     Defendants may seek judicial review of the dispute by filing with the Court and

serving on the United States, in accordance with Section XV (Notices), a motion requesting

judicial resolution of the dispute. The motion must be filed within 30 Days of receipt of the

United States’ Statement of Position pursuant to the preceding Paragraph. The motion shall

contain a written statement of Defendants’ position on the matter in dispute, including any

supporting factual data, analysis, opinion, or documentation, and shall set forth the relief

requested and any schedule within which the dispute must be resolved for orderly

implementation of the Consent Decree.

       50.     The United States shall respond to Defendants’ motion within the time period

allowed by the Local Rules of this Court. Defendants may file a reply memorandum, to the

extent permitted by the Local Rules.

       51.     Standard of Review

               a.      Disputes Concerning Matters Accorded Record Review. Except as
                       otherwise provided in this Consent Decree, in any dispute brought under
                       Paragraph 47 pertaining to disputes that are accorded review on the
                       administrative record under applicable principles of administrative law,
                       Defendants shall have the burden of demonstrating, based on the
                       administrative record, that the position of the United States is arbitrary and
                       capricious or otherwise not in accordance with law.

               b.      Other Disputes. Except as otherwise provided in this Consent Decree, in
                       any other dispute brought under Paragraph 47, Defendants shall bear the
                       burden of demonstrating that their position complies with this Consent
                       Decree.




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       52.     The invocation of dispute resolution procedures under this Section shall not, by

itself, extend, postpone, or affect in any way any obligation of Defendants under this Consent

Decree, unless and until final resolution of the dispute so provides. Stipulated penalties with

respect to the disputed matter shall continue to accrue from the first Day of noncompliance, but

payment shall be stayed pending resolution of the dispute as provided in Paragraph 35. If

Defendants do not prevail on the disputed issue, stipulated penalties shall be assessed and paid as

provided in Section IX (Stipulated Penalties).

                 XII.    INFORMATION COLLECTION AND RETENTION

       53.     The United States and its representatives, including attorneys, contractors, and

consultants, shall have the right of entry into any facility covered by this Consent Decree, at all

reasonable times, upon presentation of credentials, to:

               a.       monitor the progress of activities required under this Consent Decree;

               b.       verify any data or information submitted to the United States in
                        accordance with the terms of this Consent Decree;

               c.       obtain documentary evidence, including photographs and similar data; and

               d.       assess Defendants’ compliance with this Consent Decree.

To the extent the provisions of this paragraph relate to information and personnel located in

Japan, the Parties acknowledge that the applicability of this paragraph will be subject to the

applicable laws and legal principles of Japan.

       54.     Until five years after the termination of this Consent Decree, Defendants shall

retain, and shall instruct their contractors and agents to preserve, all non-identical copies of all

documents, records, or other information (including documents, records, or other information in

electronic form) in their or their contractors’ or agents’ possession or control, or that come into

their or their contractors’ or agents’ possession or control, and that materially relate to




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Defendants’ performance of their obligations under this Consent Decree. This information-

retention requirement shall apply regardless of any contrary corporate or institutional policies or

procedures. At any time during this information-retention period, upon request by the United

States, Defendants shall provide copies of any documents, records, or other information required

to be maintained under this Paragraph. Nothing in this Paragraph shall apply to any documents

in the possession, custody, or control of any outside legal counsel retained by Defendants in

connection with this Consent Decree or of any contractors or agents retained by such outside

legal counsel solely to assist in the legal representation of Defendants.

       55.     At the conclusion of the information-retention period provided in the preceding

Paragraph, Defendants shall notify the United States at least 90 Days prior to the destruction of

any documents, records, or other information subject to the requirements of the preceding

Paragraph and, upon request by the United States, Defendants shall deliver any such documents,

records, or other information to EPA. Defendants may assert that certain documents, records, or

other information is privileged under the attorney-client privilege or any other privilege

recognized by federal law. If Defendants assert such a privilege, they shall provide the

following: (a) the title of the document, record, or information; (b) the date of the document,

record, or information; (c) the name and title of each author of the document, record, or

information; (d) the name and title of each addressee and recipient; (e) a description of the

subject of the document, record, or information; and (f) the privilege asserted by Defendants.

However, no documents, records, or other information created or generated pursuant to the

requirements of this Consent Decree shall be withheld on grounds of privilege.

       56.     Defendants may also assert that information required to be provided under this

Section is protected as Confidential Business Information (“CBI”) under 40 C.F.R. part 2. As to




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any information that Defendants seek to protect as CBI, Defendants shall follow the procedures

set forth in 40 C.F.R. part 2.

       57.     This Consent Decree in no way limits or affects any right of entry and inspection,

or any right to obtain information, held by the United States pursuant to applicable federal laws,

regulations, or permits, nor does it limit or affect any duty or obligation of Defendants to

maintain documents, records, or other information imposed by applicable federal or state laws,

regulations, or permits.

             XIII. EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

       58.     This Consent Decree resolves the civil claims of the United States alleged in the

Complaint filed in this action through the date of lodging.

       59.     The United States reserves all legal and equitable remedies available to enforce

the provisions of this Consent Decree, notwithstanding Paragraph 58.

       60.     This Consent Decree shall not be construed to limit the rights of the United States

to obtain penalties or injunctive relief under the Act or implementing regulations, or under other

federal laws, regulations, or permit conditions, except as expressly specified in Paragraph 58.

       61.     In any subsequent administrative or judicial proceeding initiated by the United

States for injunctive relief, civil penalties, other appropriate relief relating to Defendants’

violations, Defendants shall not assert, and may not maintain, any defense or claim based upon

the principles of waiver, res judicata, collateral estoppel, issue preclusion, claim preclusion,

claim-splitting, or other defenses based upon any contention that the claims raised by the United

States in the subsequent proceeding were or should have been brought in the instant case, except

with respect to claims that have been specifically resolved pursuant to Paragraph 58.




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       62.     This Consent Decree is not a permit, or a modification of any permit, under any

federal, State, or local laws or regulations. Defendants are responsible for achieving and

maintaining complete compliance with all applicable federal, State, and local laws, regulations,

and permits; and Defendants’ compliance with this Consent Decree shall be no defense to any

action commenced pursuant to any such laws, regulations, or permits, except as set forth herein.

The United States does not, by its consent to the entry of this Consent Decree, warrant or aver in

any manner that Defendants’ compliance with any aspect of this Consent Decree will result in

compliance with provisions of the Act or with any other provisions of federal, State, or local

laws, regulations, or permits.

       63.     This Consent Decree does not limit or affect the rights of Defendants or of the

United States against any third parties, not party to this Consent Decree, nor does it limit the

rights of third parties, not party to this Consent Decree, against Defendants, except as otherwise

provided by law.

       64.     This Consent Decree shall not be construed to create rights in, or grant any cause

of action to, any third party not party to this Consent Decree.

                                           XIV. COSTS

       65.     The Parties shall bear their own costs of this action, including attorneys’ fees,

except that the United States shall be entitled to collect the costs (including attorneys’ fees)

incurred in any action necessary to collect any portion of the civil penalty or any stipulated

penalties due but not paid by Defendants.




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                                      XV.    NOTICES

       66.    Unless otherwise specified in this Decree, whenever notifications, submissions, or

communications are required by this Consent Decree, they shall be made in writing and

addressed as follows:

       As to the United States by email:    robert.yalen@usdoj.gov
                                            dominika.tarczynska@usdoj.gov
                                            jennifer.jude@usdoj.gov
                                            eescdcopy.enrd@usdoj.gov
                                            Re: DJ # 90-5-2-1-11477

                                            and

                                            tozzi.lauren@epa.gov
                                            belser.evan@epa.gov
                                            kaul.meetu@epa.gov

       As to the United States by mail:     Robert Yalen
                                            Dominika Tarczynska
                                            Jennifer Jude
                                            U.S. Attorney’s Office
                                            Southern District of New York
                                            86 Chambers St., 3rd Floor
                                            New York, NY 10007

                                            EES Case Management Unit
                                            Environment and Natural Resources Division
                                            U.S. Department of Justice
                                            P.O. Box 7611
                                            Washington, D.C. 20044-7611
                                            Re: DJ # 90-5-2-1-11427

                                            and

                                            Director, Air Enforcement Division
                                            1200 Pennsylvania Avenue NW
                                            William J Clinton South Building
                                            MC 2242A
                                            Washington, D.C. 20460




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       As to Defendants by email:             sandra.phillips@toyota.com
                                              elizabeth.gibson@toyota.com
                                              kim.udovic@toyota.com
                                              hcantwell@debevoise.com
                                              rludwiszewski@gibsondunn.com
                                              gnakayama@kslaw.com

       As to Defendants by mail:              Sandra Phillips Rogers
                                              Elizabeth Gibson
                                              Kim Udovic
                                              Toyota Motor North America
                                              6565 Headquarters Drive
                                              Plano, TX 75024

                                              Helen V. Cantwell
                                              Debevoise & Plimpton LLP
                                              919 Third Avenue
                                              New York, NY 10022

                                              Raymond B. Ludwiszewski
                                              Gibson, Dunn & Crutcher LLP
                                              1050 Connecticut Avenue, N.W.
                                              Washington, DC 20036

                                              Granta Nakayama
                                              King & Spalding LLP
                                              1700 Pennsylvania Avenue, NW, 2nd Floor
                                              Washington, DC 20006

       67.     Any Party may, by written notice to the other Parties, change its designated notice

recipient or notice address provided above.

       68.     Notices submitted pursuant to this Section shall be deemed submitted upon

mailing, unless otherwise provided in this Consent Decree or by mutual agreement of the Parties

in writing.

                                   XVI. EFFECTIVE DATE

       69.     The Effective Date of this Consent Decree shall be the date upon which this

Consent Decree is entered by the Court or a motion to enter the Consent Decree is granted,

whichever occurs first, as recorded on the Court’s docket.



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                          XVII. RETENTION OF JURISDICTION

       70.     The Court shall retain jurisdiction over this case until termination of this Consent

Decree, for the purpose of resolving disputes arising under this Decree or entering orders

modifying this Decree, pursuant to Sections XI (Dispute Resolution) and XVIII (Modification),

or effectuating or enforcing compliance with the terms of this Decree.

                                    XVIII. MODIFICATION

       71.     The terms of this Consent Decree may be modified only by a subsequent written

agreement signed by all the Parties. Where the modification constitutes a material change to this

Decree, it shall be effective only upon approval by the Court.

       72.     Any disputes concerning modification of this Decree shall be resolved pursuant to

Section XI (Dispute Resolution), provided, however, that, instead of the burden of proof

provided by Paragraph 51, the Party seeking the modification bears the burden of demonstrating

that it is entitled to the requested modification in accordance with Federal Rule of Civil

Procedure 60(b).

                                    XIX. TERMINATION

       73.     After Defendants have maintained continuous satisfactory compliance with this

Consent Decree for a period of three years, and have paid the civil penalty and any accrued

stipulated penalties as required by this Consent Decree, Defendants may serve upon the United

States a Request for Termination, stating that Defendants have satisfied those requirements,

together with all necessary supporting documentation.

       74.     Following receipt by the United States of Defendants’ Request for Termination,

the Parties shall confer informally concerning the Request and any disagreement that the Parties

may have as to whether Defendants have satisfactorily complied with the requirements for




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termination of this Consent Decree. If the United States agrees that the Decree may be

terminated, the Parties shall submit, for the Court’s approval, a joint stipulation terminating the

Decree.

       75.     If the United States does not agree that the Decree may be terminated, Defendants

may invoke Dispute Resolution under Section XI (Dispute Resolution). However, Defendants

shall not seek Dispute Resolution of any dispute regarding termination until ninety Days after

service of their Request for Termination.

       76.     The Parties agree that, notwithstanding the termination provided for under this

Section XIX, Toyota’s obligations under Appendix A, Paragraph 7 (Semi-Annual EDIR

Investigations Report) and Appendix A, Paragraph 9 (Annual Recall Report) shall continue until

four years and six months after the Effective Date, and non-compliance therewith will be subject

to stipulated penalties as provided herein. Any stipulation or termination order under this

Section shall reflect the continuation of these obligations for four years and six months after the

Effective Date when these obligations automatically terminate by their own terms.

                               XX.    PUBLIC PARTICIPATION

       77.     This Consent Decree shall be lodged with the Court for a period of not less than

30 Days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United States

reserves the right to withdraw or withhold its consent if the comments regarding the Consent

Decree disclose facts or considerations indicating that the Consent Decree is inappropriate,

improper, or inadequate. Defendants consent to entry of this Consent Decree without further

notice and agree not to withdraw from or oppose entry of this Consent Decree by the Court or to

challenge any provision of the Decree, unless the United States has notified Defendants in

writing that it no longer supports entry of the Decree.




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                               XXI. SIGNATORIES/SERVICE

       78.     Each undersigned representative of Defendants and the Assistant Attorney

General for the Environment and Natural Resources Division of the Department of Justice

certifies that he or she is fully authorized to enter into the terms and conditions of this Consent

Decree and to execute and legally bind the Party he or she represents to this document.

       79.     This Consent Decree may be signed in counterparts, and its validity shall not be

challenged on that basis. Defendants agree to accept service of process by mail with respect to

all matters arising under or relating to this Consent Decree and to waive the formal service

requirements set forth in Rules 4 and 5 of the Federal Rules of Civil Procedure and any

applicable Local Rules of this Court including, but not limited to, service of a summons.

Defendants need not file an answer to the complaint in this action unless or until the Court

expressly declines to enter this Consent Decree.

                                     XXII. INTEGRATION

       80.     This Consent Decree constitutes the final, complete, and exclusive agreement and

understanding among the Parties with respect to the settlement embodied in the Decree and

supersedes all prior agreements and understandings, whether oral or written, concerning the

settlement embodied herein.

                                   XXIII. FINAL JUDGMENT

       81.     Upon approval and entry of this Consent Decree by the Court, this Consent

Decree shall constitute a final judgment of the Court as to the United States and Defendants.




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                                     XXIV. APPENDIX

       82.    The following appendix is attached to and part of this Consent Decree: Appendix

A – Specific Defect Reporting and Investigation Protocols.


Dated and entered this 2nd day of __________,
                                     April    2021


                                    __________________________________

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                                  APPENDIX A –
                           SPECIFIC DEFECT REPORTING
                          AND INVESTIGATION PROTOCOLS


1.   General Provisions

            a.     Defendants shall comply with (or continue to comply with, to the extent
     already in place) the requirements of this Appendix with respect to motor vehicles and
     motor vehicle engines subject to 40 C.F.R. § 85.1901(a).

             b.    This Appendix is not intended to reflect an exhaustive list of actions
     necessary or appropriate for Defendants to take to comply with 40 C.F.R. part 85, subpart
     T, and the Consent Decree. Nothing in this Appendix removes Defendants’ obligation to
     take such other steps as may be necessary to comply with 40 C.F.R. part 85, subpart T,
     and the Consent Decree. Nothing in this Appendix prevents Defendants from taking
     additional steps consistent with 40 C.F.R. part 85, subpart T, and the Consent Decree,
     that Defendants deem appropriate to support its defect reporting program.

2.   Definitions

            a.     Section V of the Consent Decree (Definitions) applies to this Appendix.

            b.     The following additional definitions also apply to this Appendix:

                    (1)   “Affected Units in Operation” is the number of vehicles or engines
            of the same model year that may contain a specific Emission-Related Defect.

                    (2)    “EDIR Determination” is the determination whether or not a
            “specific emission-related defect exists in twenty-five or more vehicles or engines
            of the same model year,” within the meaning of 40 C.F.R. § 85.1903(a)(2).

                   (3)     “EDIR Investigation” is Defendants’ collection and evaluation of
            information to make an EDIR Determination.

                   (4)    “Emission-Related Defect” has the meaning provided in 40 C.F.R.
            § 85.1902(b).

                   (5)     “Emission-Related Component” means any device, system,
            assembly, emission-related part, component, system, software or element of
            design referred to in 40 C.F.R. § 85.1902(b)(1) and (2).

                   (6)     “Failure Rate” means the percentage of the Affected Units in
            Operation that are projected to manifest signs of a specific Emission-Related
            Defect during operation during their Useful Life.
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                    (7)     “Field Reports” means Toyota Field Technical Reports and Toyota
            Dealer Product Reports (or any successor report that may be used by Toyota
            during the term of the Consent Decree) that describe the results of an
            investigation into an issue involving an Emissions-Related Component on a
            vehicle that has been sold or delivered for sale. The investigation may have been
            conducted by the Defendants or by personnel at an authorized dealership.

                    (8)     “Recall” means any program of repair, adjustment, or modification
            to vehicles or engines conducted by a manufacturer to remedy any defect for
            which direct notification of vehicle or engine owners is provided, including but
            not limited to “voluntary service campaigns” or warranty extensions.

                   (9)    “Useful Life” shall have the meaning provided by 40 C.F.R.
            § 85.1902(c).

3.   EDIR Investigations

             a.    Defendants shall commence an EDIR Investigation when they have reason
     to believe based on information available to any Defendants, including but not limited to
     warranty claims, reports from dealers, consumer complaints, and internal engineering
     analyses, that a specific Emission-Related Defect may exist in twenty-five or more
     vehicles or engines of the same model year.

            b.    To the extent that an EDIR Investigation for a potential Emission-Related
     Defect has not yet been commenced, Defendants shall commence an EDIR Investigation
     upon the occurrence of the earliest of the following:

                    (1)    Receipt by Defendants of unscreened warranty claims for a
            specific Emission-Related Component in 1% of the vehicles or engines of the
            same test group and model year.

                    (2)    Receipt by Defendants of unscreened warranty claims for a
            specific Emission-Related Component in 500 vehicles or engines of the same test
            group and model year.

                   (3)    Receipt by Defendants of twenty-five Field Reports for a specific
            Emission-Related Component in vehicles or engines of the same test group and
            model year with the same reported symptom.

                   (4)   Issuance by Defendants of a Technical Service Bulletin regarding a
            Emission-Related Component.

             c.   If, as a result of Defendants’ EDIR Investigation, Defendants conclude that
     an EDIR need not be filed at that time, they shall, for five years from the end of the
     model year in which the vehicles or engines were manufactured, continue to monitor the
     Emission-Related Defect and supplement the EDIR Investigation (i) as new information
     becomes available and (ii) upon the occurrence of the events described in paragraph
     3(b)(1)-(4).


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            d.    Defendants shall conduct EDIR Investigations promptly and avoid delay in
     any root cause analysis or other necessary engineering analysis.

             e.    In determining the number of vehicles or engines of the same model year
     with the same Emission-Related Defect, Defendants shall make reasonable estimates
     based on all available information, including but not limited to returned parts, customer
     complaints, and engineering or maintenance data or reports. Defendants shall not limit
     their analysis to those instances in which Defendants received returned parts from
     dealers.

4.   EDIR Filing and Content

            a.     Defendants shall file an EDIR not more than 15 working days of an EDIR
     Determination that a specific Emission-Related Defect exists in twenty-five or more
     vehicles or engines of the same model year.

             b.    In addition to the information required by 40 C.F.R. § 85.1903(c), Toyota
     shall include in every EDIR any additional information of that would be required by a
     defect report filing under 40 C.F.R. § 1068.501(d).

           c.   In each EDIR, Defendants shall also include their best estimate, and the
     methodology used to reach that estimate, of the following:

                     (1)    Affected Units in Operation;

                     (2)    Failure Rate; and

                   (3)     The impact on emissions during operation of an unrepaired vehicle
            manifesting signs of a specific Emission-Related Defect when compared to a
            normally functioning vehicle that does not exhibit the Emission-Related Defect.

5.   EDIR Staffing

             a.    Defendants shall ensure that staff conducting EDIR Investigations, making
     EDIR Determinations, and drafting EDIRs are properly trained and qualified and are
     given access to all relevant information and analyses. Without limitation, Defendants
     shall ensure that such staff are trained at least annually on EDIR reporting requirements
     and the applicable requirements of this Appendix A and have and make use of
     appropriate engineering expertise and information.

6.   EDIR Process Communications with Recall Staff

           a.     Defendants shall ensure that staff responsible for determining whether to
     conduct a recall (“Recall Staff”) are notified within fifteen working days of the results of
     any EDIR Investigation or EDIR Determination.




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             b.    Defendants shall ensure that staff responsible for conducting any EDIR
     Investigation or making any EDIR Determination are authorized and encouraged to
     communicate directly with Recall Staff.

7.   Semi-Annual EDIR Investigations Report

             a.   No later than April 30 and October 31 of each year (but in no event earlier
     than six months after entry), Defendants shall submit a report on the status of all EDIR
     Investigations commenced, continued, or concluded during the two preceding calendar
     quarters. The report shall include:

                    (1)    Identification of each EDIR Investigation that Defendants
            commenced, continued, or concluded during prior year, including the applicable
            part number(s) and description of the Emission-Related Component(s) being
            investigated as well as a description of the potential Emission-Related Defect(s);

                    (2)    The date the EDIR Investigation commenced;

                   (3)     To the extent that the EDIR Investigation commenced because of
            the occurrence of an event listed in paragraph 3(b)(1)-(4) above, a description of
            the event and the date on which it occurred;

                  (4)    The status of each such EDIR Investigation (open, closed, or
            monitoring);

                    (5)    A description of the potentially affected vehicles, including engine
            family, model, model year, and number of vehicles;

                  (6)     An estimate of Affected Units in Operation and Failure Rate for
            each Emission-Related Defect, an explanation how this number was determined,
            and whether these estimates remains under investigation;

                    (7)    Whether an EDIR was filed and if so on what date;

                  (8)     If the EDIR Investigation was closed or continued more than 30
            Days without filing an EDIR report, the reasons for such action; and

                   (9)     The date the EDIR Determination was reported to recall staff
            pursuant to paragraph 6(a) above.

            b.     This report shall be submitted to the United States pursuant to Section XV
     (Notices); by email to wehrly.linc@epa.gov and ball.joel@epa.gov; and by mail National
     Vehicle and Fuel Emissions Laboratory, Attention: Light-Duty Vehicle Compliance
     Center, 2000 Traverwood Drive. Ann Arbor, MI 48105.




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8.    Recalls, VERRs & Quarterly Reports

              a.    Defendants shall ensure that prior to commencement of any Recall (whether
      or not related to an Emission-Related Defect) that appropriate Toyota staff will determine
      whether such Recall is a “voluntary emissions recall,” within the meaning of 40 C.F.R.
      § 85.1902(d), involving twenty-five or more vehicles or engines, such that the filing of
      VERRs and Quarterly Reports will be required pursuant to 40 C.F.R. § 85.1904.

              b.     Defendants shall ensure that staff responsible for making the determination
      referred to in paragraph (a) are properly trained and qualified to make that determination.

              c.    Toyota shall file all required VERRs and Quarterly Reports by the deadlines
      stated in 40 C.F.R. § 85.1904.

9.    Annual Recall Report

              a.   Six months after the entry of this Consent Decree, and thereafter on April
      30 of each year, Defendants shall submit a status report including the following
      information:

                    (1)    An identification of each Recall commenced after the Effective
             Date of the Consent Decree;

                     (2)    A statement whether such Recall is a “voluntary emissions recall
             campaign involving twenty-five or more vehicles or engines” within the meaning
             of Section 85.1904;

                     (3)  If so, the date that a VERR was filed or the anticipated future date
             that a VERR will be filed, and the dates of any Quarterly Reports filed as of that
             date; and

                     (4)     If not, the basis for so concluding.

             b.    This report shall be submitted to the United States pursuant to Section XV
      (Notices) and by email to wehrly.linc@epa.gov and ball.joel@epa.gov; and by mail
      National Vehicle and Fuel Emissions Laboratory, Attention: Light-Duty Vehicle
      Compliance Center, 2000 Traverwood Drive. Ann Arbor, MI 48105.

10.   Oversight and Coordination

             a.    With regard to Emission-Related Defects:

                    (1)    Defendants shall ensure that oversight systems are in place to
             encourage quality, correct deficiencies, ensure accountability, and identify areas
             for improvement of Defendants’ defect investigations and reporting.

                     (2)    Defendants shall ensure that staff members assigned roles in the
             defect investigation, defect reporting, and recall processes are informed in writing



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     of the steps they are expected to perform and acknowledge their responsibility
     therefor.

             (3)    To the extent that Defendants’ responsibility for the defect
     reporting process is distributed to different components within or among the
     Defendants, Defendants shall establish an Emission-Defect Reporting Control
     Group to coordinate among and insure adequate communication between the
     several components.




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